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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )                     Criminal No. 16-0017-1 (PLF)
                                          )
EMEKA H. CHIJIOKE,                        )
                                          )
            Defendant.                    )
__________________________________________)


                            MEMORANDUM OPINION AND ORDER

                Before the Court is Emeka Chijioke’s Motion [Dkt. No. 33] for Early Termination

of Supervised Release (“Mot.”). The United States opposes the motion. See Government’s

Opposition to Defendant’s Motion for Early Termination of Supervised Release (“Opp.”) [Dkt.

No. 34]. Upon careful consideration of the parties’ filings, the relevant legal authorities, and the

record in this case, the Court will deny Mr. Chijioke’s motion.


                                         I. BACKGROUND

                In 2017, Mr. Chijioke pled guilty to one count of health care fraud in violation of

18 U.S.C. § 1347. See Judgment [Dkt. No. 31] at 1. This Court sentenced Mr. Chijioke to

twenty-four months of incarceration, followed by a three-year term of supervised release. Id.

at 2-3. Mr. Chijioke returned to the community and began his term of supervision on

July 17, 2019. On January 5, 2021, Mr. Chijioke filed the instant motion.


                                      II. LEGAL STANDARD

                This Court may “terminate a term of supervised release and discharge the

defendant released at any time after the expiration of one year of supervised release . . . if it is
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satisfied that such action is warranted by the conduct of the defendant released and the interest of

justice.” 18 U.S.C. § 3583(e)(1). When considering a motion for early termination of supervised

release, this Court must consider the following factors set forth in 18 U.S.C. § 3553(a):

                (1) the nature and circumstances of the offense and the defendant's
                history and characteristics; (2) deterrence of criminal conduct;
                (3) protection of the public from further crimes of the defendant;
                (4) the need to provide the defendant with educational or vocational
                training, medical care, or other correctional treatment; (5) the
                applicable sentencing guideline range for the offense and pertinent
                policy statements issued by the U.S. Sentencing Commission;
                (6) the need to avoid unwarranted sentencing disparities; and (7) the
                need to provide restitution to any victims of the offense.

United States v. Harris, 258 F. Supp. 3d 137, 144 (D.D.C. 2017) (citing 18 U.S.C. § 3583(e)).


                                         III. DISCUSSION

                Mr. Chijioke has served approximately one year and ten months of his three-year

term of supervised release. During that time, he has fully complied with the conditions of his

release. See U.S. Probation Office Petition (“Probation Petition”) [Dkt. No. 35] at 2. Mr.

Chijioke is employed and has maintained a stable residence while on supervised release. Id. He

has also completed the required hours of community service and made regular restitution

payments. Id.

                The Court commends Mr. Chijioke on his progress. Nonetheless, the Court

concludes that Mr. Chijioke’s conduct and the interest of justice do not warrant early termination

of his supervised release. Moreover, Mr. Chijioke pled guilty to and was sentenced for a serious

crime – defrauding the District of Columbia Medicaid program of at least $580,000. See

Statement of the Offense [Dkt. No. 19] at 4; see also 18 U.S.C. § 3553(a)(1). He carried out the

offense from approximately 2007 to 2012, and he repeatedly defrauded the District of Columbia

Medicaid Program over the course of that time. Id. The sentence imposed by the Court



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“reflect[s] the seriousness of the offense.” 18 U.S.C. § 3553(a)(2)(A). This is particularly so

given that the sentence was at the low end of the permissible guidelines range. See Opp. at 3;

Sentencing Recommendation [Dkt. No. 25] at 1.

               General deterrence principles also counsel in favor of denying Mr. Chijioke’s

motion. See 18 U.S.C. § 3553(a)(2)(B). Medicaid fraud is both common and costly. See Opp.

at 3. Sanctions that reduce the benefits of that fraud help deter potential similar conduct.

Finally, Mr. Chijioke still owes over $530,000 in restitution. See Probation Petition at 2; 18

U.S.C. § 3553(a)(7). The Court concludes that supervision is necessary to reflect the seriousness

of his offense and to ensure that Mr. Chijioke continues to make timely and consistent restitution

payments.


                                       IV. CONCLUSION

               For the foregoing reasons, it is hereby

               ORDERED that Mr. Chijioke’s Motion [Dkt. No. 33] for Early Termination of

Supervised Release is DENIED.

               SO ORDERED.


                                                                     /s/
                                                                    PAUL L. FRIEDMAN
                                                                    United States District Judge


DATE: May 12, 2021




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